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Neurontin Action Plan — POot2-2004

 

 

 

2004 Goal
e National Goal = Achieve $2.5 Billion and 15% growth in 2004
e Currently 104% of Budget, GAR = 98.77%. YTD Sales of $780 million with growth 19.7%

 

 

 

 

Market Overview

e Neurontin weekly shares are trending up - bottomed in January after declining in 2003.
e Tablet business has increased from 32% to 37% of Neurontin total.

e 75% of targeted PCPs now achieving at least 1800mg. PCPs still slowest to get there.

e Other AEDs growing faster than Neurontin in LTC (16% vs 59%)

e Eisai's new specialty team will promote Zonegran.

 

 

 

 

Strategies

 

 

¢ 2" position Detail on every call
e Deliver Consistent 3 Step Message
e Grow LTC business

No calls on Psychs!!!!

 

 

Core Message

 

“NEURONTIN Is a Different Kind of Medication that provides Significant Reduction
of the Burning, Stabbing, and Electric-Shock-Like Pain of PHN, when dosed up to
600mg TID or Pain Free"

 

 

 

Messaging
1) Differentiate Neuropathic pain from Joint/Muscle pain - Describe PHN as one
type of Neuropathic pain
2) Neurontin is most effective for relieving the pain of PHN
a. Sell Rice & Robotham
b. Sleep improvements due to pain reduction - esp inLTC
3) Titrate to 600mg TID or Pain Free utilizing scored tablets.

 

 

Executional Excellence

e Roll out LTC Kits - set specific metrics for appropriate LTC areas.
e Roundtable programs, Conference Calls

 

 

 

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e Re-N-Force letters

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